                                       Case 21-50860-pwb                Doc 49          Filed 04/28/24 Entered 04/28/24 15:51:48                           Desc
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                                                                                    FORM 1                                                                                                       Page: 1
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                 ASSET CASES
Case Number:        21-50860 PWB                                                                                    Trustee:                        John Lewis Jr.
Case Name:          Doris Rosetta Cooper                                                                            Filed (f) or Converted (c):     02/01/21 (f)
                                                                                                                     D 0HHWLQJ'DWH           03/15/21
Period Ending: 03/31/24                                                                                             Claims Bar Date:                11/01/21

                                        1                                           2                              3                          4                      5                       6
                                                                                                          Estimated Net Value                                                           Asset Fully
                                                                                 Petition/           (Value Determined By Trustee,         Property            Sale/Funds            Administered (FA)/
                                Asset Description                              Unscheduled              Less Liens, Exemptions,          Abandoned             Received by            Gross Value of
 Ref #               (Scheduled And Unscheduled (u) Property)                     Values                    and Other Costs)          2$  D $EDQGRQ        the Estate           Remaining Assets

  1      Jeep Renegade 2020 6,200 miles                                                 27,836.00                              0.00          OA                               0.00          FA

  2      1 BR, LR & All Major Kitchen Appliances                                          200.00                               0.00          OA                               0.00          FA

  3      2 TVs, DVD Player, Desktop, Laptop, Printer & 1 Cellphone                       1,200.00                              0.00          OA                               0.00          FA

  4      Clothes/Shoes/Purses                                                            1,500.00                              0.00          OA                               0.00          FA

  5      Real & Costume Jewelry                                                          2,000.00                              0.00          OA                               0.00          FA

  6      Blood Pressure Machine                                                              40.00                             0.00          OA                               0.00          FA

  7      Cash on hand                                                                         2.00                             0.00          OA                               0.00          FA

  8      Checking Accounts: Bank of America                                                   1.00                             1.00          OA                               0.00          FA

  9      Savings Accounts Bank of America                                                     0.00                             0.00                                           0.00          FA

  10     Checking Accounts PNC Bank                                                          54.00                             0.00          OA                               0.00          FA

  11     Checking Accounts PNC Bank                                                           0.00                             0.00          OA                               0.00          FA

  12     Savings Accounts PNC Bank                                                            0.00                             0.00          OA                               0.00          FA

  13     Checking Accounts Woodforest Bank                                                    0.00                             0.00          OA                               0.00          FA

  14     New York Life - Whole                                                            200.00                               0.00          OA                               0.00          FA

  15     Colonial Penn - Whole Life                                                           0.00                             0.00          OA                               0.00          FA

  16     Personal Injury Claim                                                          Unknown                           Unknown                                             0.00                   1.00

TOTALS (Excluding Unknown Values)                                                    $33,033.00                               $1.00                                          $0.00                  $1.00
Major activities affecting case closing:
<4/28/2024, 2:51:18 PM - ShanekaR-630>
Email to Trustee attorneys to follow up with Nugent--
regarding the order was entered over 2 years ago. Attorneys to provide an update within a week.
<11/6/2023, 4:21:13 PM - ShanekaR-630>
We have employed special counsel Ken Nugent and are still waiting for him to provide the information to file the 9019 Motion.
<4/22/2023, 6:05:25 PM - ShanekaR-630>
Motion to Approve Compromise will be prepared by Rountree.
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                                                                                  FORM 1                                                                                                          Page: 2
                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                               ASSET CASES
<10/29/2022, 2:24:21 PM - ShanekaR-630>
 Counsel (Rountree) and special counsel (Nugent) employed. Settlement approval motion is the next action item. The PI firm, Ken Nugent, has not been responding to communications. We follow up
again today.

<4/9/2022, 12:17:39 PM - ShanekaR-630>
Applications to Employ Ken Nuget as Special Counsel and William Rountree as Attorney for Trustee filed and approved. Rountree will prepare 9019 Motion.

9/30/2021 Trustee has reached a settlement with Debtor's PI attorney for $100K. The settlement is being held in PI attorney's trust account. An application to employ special counsel and a motion to
approve settlement will be filed. The bar date will expire 11/1/2021.

Initial Projected Date of Final Report (TFR): February 28, 2022                                       Current Projected Date of Final Report (TFR): December 31, 2024

                April 28, 2024                                                                                          /s/ John Lewis Jr.
                     Date                                                                                               John Lewis Jr.
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                                                           Form 2                                         Page: 1

                                         Cash Receipts and Disbursements Record
No Accounts for this Case
